     Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 1 of 20 Page ID #:1




 1
     Alexander Chen [SBN 245798]
 2   William Walz [SBN 136995]
 3   Theodore Lee [SBN 281475]
     Elliot Landreth [SBN 314884]
 4   INHOUSE CO. LAW FIRM
     7700 Irvine Center Dr., Suite 800
 5   Irvine, California 92618
     Telephone: (714) 932-6659
 6   Facsimile: (714) 882-7770
 7
 8   Attorneys for Plaintiff,
     KUEN HWA TRAFFIC INDUSTRIAL CO.
 9
10
                                   UNITED STATES DISTRICT COURT
11
                                  CENTRAL DISTRICT OF CALIFORNIA
12
13                                       WESTERN DIVISION

14
15                                             )
     KUEN HWA TRAFFIC INDUSTRIAL               ) Case No.:
16   CO., a Corporation organized under        )
     Taiwanese law,                            )
17                                             )
                                               ) COMPLAINT FOR:
18        Plaintiff,                           )
19                                             )    1. PATENT INFRINGEMENT OF
                                               )       THE ‘987 PATENT (35 U.S.C. §
      vs.                                      )
20                                                     271(a))
                                               )
21   DNA Motor, Inc., a California Corporation )    2. WILLFUL INFRINGEMENT OF
                                               )
22                                                     THE ‘987 PATENT
           Defendant.                          )
                                               )
23                                             )
                                               )
24                                             ) DEMAND FOR JURY TRIAL
25
     //
26
     //
27
     //
28
29

30        COMPLAINT                         - 1 -
31
     Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 2 of 20 Page ID #:2




 1           Plaintiff Kuen Hwa Traffic Industrial Co., LTD. (“KHTI”) presents the following allegations and
 2   facts in support of this Complaint and demands a jury trial on all causes of action stated herein against the
 3   named Defendant as follows:
 4                                             JURISDICTION AND VENUE
 5           1.          This is a civil action for infringement of a patent, arising under the laws of the United States
 6   relating to patents, including, without limitation, 35 U.S.C. § 101, et seq., 35 U.S.C. § 271 and § 281.
 7   Plaintiffs seek preliminary and permanent injunctions and monetary damages for patent infringement.
 8           2.          This Court has subject matter jurisdiction over this case for patent infringement under 28
 9   U.S.C. §§ 1331 and 1338(a) and pursuant to the patent laws of the United States of America, 35 U.S.C. §
10   101, et seq.

11           3.          Venue properly lies within the Central District of California pursuant to 28 U.S.C. sections

12   1391(b) and (c); 28 U.S.C. section 1400(a); and 18 U.S.C. section 1965. On information and belief,

13   Defendant conducts substantial business directly and through third parties or agents in this judicial district

14   by selling and offering to sell the infringing products and by conducting other business in this judicial

15   district. Furthermore, Plaintiffs have been harmed by Defendant’s conduct, business transactions and sales

16   in this district.

17           4.          This Court has personal jurisdiction over Defendant because, on information and belief,

18   Defendant transacts continuous and systematic business within the State of California and the Central

19   District of California. In addition, this Court has personal jurisdiction over the Defendant because, on

20   information and belief, this lawsuit arises out of Defendant’s infringing activities, including, without

21   limitation, the making, using, selling and/or offering to sell infringing products in the State of California

22   and the Central District of California. Finally, this Court has personal jurisdiction over Defendant because,

23   on information and belief, Defendant has made, used, sold and/or offered for sale its infringing products

24   and placed such infringing products in the stream of interstate commerce with the expectation that such

25   infringing products would be made, used, sold and/or offered for sale within the State of California and

26   the Central District of California.

27           5.          Upon information and belief, certain of the products manufactured by or for Defendant

28   have been and/or are currently sold and/or offered for sale to consumers including, but not limited to,

29

30         COMPLAINT                                     - 2 -
31
     Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 3 of 20 Page ID #:3




 1   consumers located within the State of California at, among other places, Amazon.Com’s website located
 2   at http://www.amazon.com and Ebay.com’s website located at https://www.ebay.com.
 3                                                     PARTIES
 4           6.     Plaintiff Kuen Hwa Traffic Industrial Co., LTD. is a corporation organized under the laws
 5   of Taiwan, having its principal place of business at No.57, HUANGONG RD., YONGKANG
 6   DIST.,TAINAN CITY 71041,Taiwan.
 7           7.     Defendant DNA Motor, Inc. is a corporation registered and existing under the laws of the

 8   State of California, with an office and principal place of business located at 801 Sentous Avenue, City of

 9   Industry, California 91748.

10                                         THE ACCUSED PRODUCTS

11           8.     The Defendant’s accused products for purposes of the asserted patents include the

12   Defendant’s projection headlights incorporating the patented designs. (the Patented Design.)

13           9.     Plaintiff believes and thereupon alleges that Defendant is aware that its customers and end-

14   users are using the accused products in an infringing manner based on comments and discussions posted

15   on its website and other public websites where Defendant’s authorized agents, customers and end-users

16   discuss and disclose the use of the accused products.

17           10.    Furthermore, on May 7th, 2018, and again on May 10th 2018, Plaintiff via FedEx, notified

18   Defendant as to it’s ownership right of the ‘987 Patent, Plaintiff’s knowledge of the existence of

19   Defendant’s infringing products, and with a request that Defendant cease and desist all infringing

20   activities. See Exhibit “A”.

21                                          THE ASSERTED PATENTS

22           11.     On April 20, 2016, the United States Patent and Trademark office, duly and legally issued

23   United States Design Patent No. D791,987, entitled “Vehicle headlight” (“the ’987 Patent”). The patent’s

24   named inventor is Yung-Hsiang Lin, and Plaintiff Kuen Hwa Traffic Industrial Co., LTD. is assignee and

25   owner of the entire right, title, and interest in and to the ’987 patent and vested with the right to bring this

26   suit for damages and other relief. A true and correct copy of the ’987 Patent is attached hereto as Exhibit

27   “B”.

28
29

30          COMPLAINT                               - 3 -
31
     Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 4 of 20 Page ID #:4




 1                                                   COUNT ONE
 2                         INFRINGEMENT OF THE ’987 PATENT BY DEFENDANT
 3          12.        Plaintiff re-alleges and incorporates by reference each of the allegations set forth in
 4   paragraphs 1 through 11 above.
 5          13.        Design Patent ‘987 has one single claim directed to the ornamental design for an exterior
 6   surface configuration of a vehicular headlight as shown below:
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22          14.        Defendant has knowledge of infringement of the ’987 Patent since at least the filing of
23
     this complaint.
24
            15.        Defendant DNA Motor, Inc. copied the design of the 2012-2015 Toyota Tacoma projector
25
26   style headlight featuring a LED halo ring from the headlight design of the ’987 Patent. A side-by-side

27   comparison of the ’987 patented design and an exemplary specimen of Defendant DNA Motor, Inc.’s
28
29

30        COMPLAINT                                  - 4 -
31
     Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 5 of 20 Page ID #:5



     projector style headlight is shown below, the photograph of the exemplary Defendant DNA Motor, Inc.
 1
 2   headlight being taken from its Amazon product listing:

 3   //
 4   //
 5
 6                           D791987                                     DNA’s Accused Product
 7
 8
 9
10
11
12
13
14
15
16
17
18
            16.     As shown in the pictures, the headlight design of the 2012-2015 Toyota Tacoma projector
19
     style headlight featuring a LED halo ring is the same or substantially the same as the headlight design of
20
     the ’987 Patent. The headlight designs are so similar as to be nearly identical such that an ordinary
21
22   observer, giving such attention as a purchaser usually gives, would be so deceived by the substantial

23   similarity between the designs so as to be induced to purchase Defendant DNA Motor, Inc.’s products
24
     believing them to be substantially the same as the headlight design protected by the ’987 Patent.
25
            17.     Plaintiff has not granted a license or any other authorization to Defendant DNA Motor,
26
     Inc. to make use, offer for sale, sell or import headlights that embody the headlight design patented in
27
28   the ’987 Patent and which is proprietary to Plaintiff.

29

30        COMPLAINT                                - 5 -
31
     Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 6 of 20 Page ID #:6



            18.     Plaintiff alleges upon information and belief that, without authority, Defendant has
 1
 2   infringed and continues to infringe the ’987 Patent by, inter alia, making, using, offering to sell, or

 3   selling in the United States, including in the State of California and within this District, products
 4   infringing the ornamental design covered by the ’987 Patent in violation of 35 U.S.C. § 271, including
 5
     but not limited to Defendant DNA Motor, Inc.’s 2012-2015 Toyota Tacoma projector style headlight
 6
     featuring a LED halo ring.
 7
 8          19.     Defendant DNA Motor, Inc.’s headlight design infringes the ’987 Patent because, inter

 9   alia, in the eye of an ordinary observer, giving such attention as a purchaser usually gives, the headlight
10   design of the ’987 Patent and the headlight designs of Defendant DNA Motor, Inc.’s products, including
11
     without limitation, the headlight designs of the 2012-2015 Toyota Tacoma projector style headlight
12
     including a LED halo ring are substantially the same, with the resemblance being such as to deceive
13
14   such an ordinary observer, inducing him to purchase one supposing it to be the other.

15          20.     Defendant DNA Motor, Inc.’s acts of infringement of the ’987 Patent were undertaken
16   without authority, permission or license from Plaintiff. Defendant DNA Motor, Inc.’s infringing
17
     activities described herein violate 35 U.S.C. § 271.
18
            21.     Plaintiff is informed and believes that Defendant intentionally sells, ships or otherwise
19
20   delivers the accused products in the United States, with knowledge that are designed to and do practice

21   the infringing features of the ’987 Patent.

22          22.     Plaintiff is without an adequate remedy at law and has thus been irreparably harmed by
23
     these acts of infringement. Plaintiff asserts upon information and belief that infringement of the asserted
24
     claims of the ’987 Patent is continuous and ongoing unless and until Defendant is enjoined from further
25
     infringement by the Court.
26
27   //

28
29

30        COMPLAINT                                 - 6 -
31
     Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 7 of 20 Page ID #:7




 1                                                COUNT TWO
 2                       WILLFUL INFRINGEMENT OF THE ASSERTED PATENT
 3      23. Plaintiff re-alleges and incorporates by reference each of the allegations set forth in paragraphs 1
 4          through 22 above.
 5      24. Defendant’s infringement of the ‘987 Patent has been willful.
 6      25. Defendant has had actual knowledge of the ‘116 Patent since at least May of 2018.
 7      26. Plaintiff’s letter to Defendant, with the ‘987 Patent attached, and Defendant’s continued marketing

 8          and sales evidence not only Defendant’s pre-suit knowledge of the ‘987 Patent, but that

 9          Defendant’s infringement of that patent has been, and continues to be willful and deliberate,

10          warranting treble damages.

11
12                                           PRAYER FOR RELIEF

13
14   WHEREFORE, Plaintiff pray for relief and judgment as follows:

15          1.      The determination that Defendant has infringed the ‘987 Patent;

16          2.      That Defendant, Defendant’s officers, agents, servants, employees, and attorneys, and

17   those persons in active concert or participation with them, be preliminarily and permanently enjoined

18   from infringement of the Patent-in-Suit, including but not limited to any making, using, offering for

19   sale, selling, or importing of unlicensed infringing products within and without the United States;

20          3.      Compensation for all damages caused by Defendant’s infringement of the Patents-in-

21   Suit to be determined at trial;

22          4.      A finding that this case is exceptional and an award of reasonable attorney’s fees

23   pursuant to 35 U.S.C. § 285;

24          5.      Granting Plaintiff’s pre-and post-judgment interest on its damages, together with all

25   costs and expenses;

26          6.      Finding Defendant’s infringement of the ‘987 Patent to be willful and increasing

27   damages up to three times the amount found or assessed by the jury;

28          7.      Awarding Plaintiff pre and post-judgement interest;

29

30        COMPLAINT                               - 7 -
31
     Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 8 of 20 Page ID #:8




 1         8.    Ordering that Defendant deliver up and destroy all infringing products; and,
 2         9.    Granting Plaintiff such other and further relief as the Court may deem just and proper.
 3
 4
     DATED: June 26th, 2018                           INHOUSE CO. LAW FIRM
 5
 6
 7
 8                                             By: ____________________________
                                                      Alexander Chen, Esq.
 9                                                    William Walz, Esq.
                                                      Theodore Lee, Esq.
10                                                    Elliot Landreth, Esq.
11                                                    Attorneys for Plaintiff
                                                      Eagle Eyes Traffic Industry USA Holding LLC
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29

30       COMPLAINT                             - 8 -
31
     Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 9 of 20 Page ID #:9



                                         DEMAND FOR JURY TRIAL
 1
 2
 3   Plaintiff hereby demands a trial by jury on all claims.
 4
 5
     DATED: June 26, 2018                                  INHOUSE CO. LAW FIRM
 6
 7
 8
 9                                                 By: ____________________________
                                                          Alexander Chen, Esq.
10                                                        William Walz, Esq.
                                                          Theodore Lee, Esq.
11
                                                          Elliot Landreth, Esq.
12                                                        Attorneys for Plaintiff
                                                          Kuen Hwa Traffic Industrial Co.
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29

30        COMPLAINT                                - 9 -
31
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 10 of 20 Page ID #:10




                              EXHIBIT A
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 11 of 20 Page ID #:11




           REPLY to:

      ELLIOT LANDRETH                                                YARDHOUSE RESTURANT BUILDING
                                                                     7700 IRVINE CENTER DR., SUITE 800
    Direct DIAL: 949-250-1555                                        IRVINE, CA 92618
                                                                     TEL: 949-250-1555 * FAX: 714-882-7770
    ELLIOT@INHOUSECO.COM
                                                                     ALMADEN FINANCIAL PLAZA
                                                                     1 ALMADEN BLVD SUITE 810
                                                                     SAN JOSE, CA 95113
                                                                     TEL: 408-918-5393 * Fax: 408-918-5373


                                  ATTORNEY COMMUNICATION



    VIA FIRST CLASS MAIL, EMAIL AND FACISMILE

    May 2, 2018
    DNA Motor, Inc.
    801 Sentous Avenue
    City of Industry, CA 91748

    RE:      Infringement of D791987 owned by Kuen Hwa Traffic Industrial Co., LTD.



    Dear Sirs:
    Our law firm represents Kuen Hwa Traffic Industrial Co., LTD. (“KHTI”) in connection with its
    intellectual property rights. We have found, and attached for your review, instances of your
    company offering for sale products that are patented and owned by KHTI. This is a per se violation
    of KHTI’s patent rights and this letter constitutes KHTI’s demand that you cease and desist any
    and all activity associated with U.S. Patent No. D791,987, a patented design which you have been
    producing, marketing, and selling as a 2012-2015 Toyota Tacoma projector style headlight
    featuring a LED halo ring. You should immediately forward this letter to your attorney.
    The U.S. Patent No. D791,987 (“the ‘987 patent”) was registered on April 20, 2016, with a patent
    granted by the USPTO on July 11, 2017 to KHTI, who remains the current assignee of the patent.
    (see attached Exhibit A)
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 12 of 20 Page ID #:12
    Page 2 of 3
    May 2, 2018




                         D791987                                     DNA’s Accused Product




                                                       eBay links:
                                                       https://www.ebay.com/itm/2012-2015-TOYOTA-TA
                                                       COMA-PROJECTOR-HEADLIGHT-LAMPS-LED-
                                                       HALO-RING-CHROME-AMBER-/162854357115?v
                                                       xp=mtr&hash=item25eae0487b

                                                       https://www.ebay.com/itm/2012-2015-TOYOTA-TA
                                                       COMA-PROJECTOR-HEADLIGHT-LAMPS-LED-
                                                       HALO-RING-SMOKED-CLEAR-/152968157405?vx
                                                       p=mtr&hash=item239d9cd8dd

                                                       https://www.ebay.com/itm/2012-2015-TOYOTA-TA
                                                       COMA-PROJECTOR-HEADLIGHT-LAMPS-LED-
                                                       HALO-RING-BLACK-AMBER-/152867782506?vxp
                                                       =mtr&hash=item2397a13f6a

                                                       https://www.ebay.com/itm/LED-HALO-RING-FOR-
                                                       2012-2015-TOYOTA-TACOMA-BLACK-AMBER-
                                                       PROJECTOR-HEADLIGHT-LAMP/401477165315?
                                                       fits=Year%3A2012%7CModel%3ATacoma&hash=it
                                                       em5d79e76103:g:wU0AAOSwDApaXUZq&vxp=mtr



    Pursuant to 35 U.S. Code § 271, “whoever without authority makes, uses or sells any patented
    invention, within the United States during the term of the patent therefor, infringes the patent.”
    Recently, KHTI has become aware of DNA Motor, Inc’s use of the ‘987 patent. KHTI has no such
    record of any contact existing between itself and DNA Motor, such that any such use of the ‘987
    patent is clearly without either express or implied consent.
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 13 of 20 Page ID #:13
    Page 3 of 3
    May 2, 2018




    Under U.S patent law, KHTI has several options to enforce its legal rights in the ‘987 patent
    including: (1) preliminary and permanent injunctions; (2) actual monetary damages; (3) disgorging
    of any profits you have realized through your use of the KHTI’s patent; (4) reimbursement of
    attorney’s fees required to prosecute a lawsuit against you; and (5) monetary damages for damage
    to KHTI’s goodwill in the market. Further, a court may increase the damages up to three times the
    amount found or assessed as a punitive measure as a policy consideration to deter patent
    infringement in the overall marketplace.
    Please be advised that KHTI will undertake all appropriate steps to protect its patent rights. You
    can avoid legal action by immediately ceasing and desisting from any and all infringing activity
    including use of the ‘987 patent. You must cease and desist all promotion and/or marketing of the
    cited 2012-2015 Toyota Tacoma projector style headlamps. You are hereby put on notice that
    KHTI and our firm will be monitoring your use for this purpose. Additionally, you must
    immediately cease your infringing actives and contact this firm within seven (7) days from receipt
    of this letter to confirm the same. If no response is received, this firm has been authorized to
    proceed immediately with a federal law suit again you in the Central District Court of California
    and a formal complaint will be filed immediately.
    If you or your attorney have any questions, please feel free to contact me. I can be reached at my
    email address elliot@inhouseco.com or at my cell number 949-250-1555.


    Inhouse Co. Law Firm
    Sincerely,

    Elliot Landreth, Esq.

    Attorney at Law
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 14 of 20 Page ID #:14




                              EXHIBIT B
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 15 of 20 Page ID #:15
                                                                                                            USOOD79 1987S


  (12) United
       Lin
              States Design Patent (10) Patent No.:                                                                            US D791,987 S
                                                                                       (45) Date of Patent:                              Jul. 11, 2017
  (54) VEHICLE HEADLIGHT                                                                   D674,941   S     1/2013 Lai ................................. D26/28
                                                                                           D691.298   S * 10/2013                                   ... D26, 28
  (71) Applicant: KUEN HWA TRAFFIC                                                         D743,071   S. * 11/2015                                  ... D26, 28
                         INDUSTRIAL CO., LTD., Tainan                                      D750,818   S * 3/2016                                    ... D26, 28
                                                                                           D761,463   S *     7/2016 Lai ................................. D26/28
                 (TW)
                                                                                    * cited by examiner
  (72) Inventor: Yung-Hsiang Lin, Tainan (TW)
                                                                                    Primary Examiner — Marcus Jackson
  (73) Assignee: Kuen Hwa Traffic Industrial Co.,                                   (74) Attorney, Agent, or Firm — Rosenberg, Klein & Lee
                 Ltd., Tainan (TW)
  (**)    Term:          15 Years

  (21) Appl. No.: 29/561,778                                                        (57)                           CLAM

  (22) Filed:   Apr. 20, 2016                                                       The ornamental design for a vehicle headlight, as shown and
                                                                                    described.
  (51) LOC (10) Cl. ............................................... 26-06
  (52) U.S. C.
          USPC ........................................................... D26/28
  (58)    Field of Classification Search                                                                     DESCRIPTION
          USPC ................ D26/28–36; 362/80-83, 267–269,
                                    362/.459 468, 475 478, 485 487                  FIG. 1 is a perspective view of a vehicle headlight showing
          CPC .......... F21S 48/00; F21S 48/10; F21S 48/115;
                               F21S 48/1233; F21S 48/1266; F21S                     my present design;
                              48/1388: F21S 48/2268: F21V 21/04                     FIG. 2 is a front view thereof;
          See application file for complete search history.                         FIG. 3 is a right view thereof;
                                                                                    FIG. 4 is a top plan view thereof, and,
  (56)                       References Cited                                       FIG. 5 is another perspective view thereof.
                    U.S. PATENT DOCUMENTS                                           The broken lines in the drawings illustrate portions of the
                                                                                    vehicle headlight which form no part of the claimed design.
         D586,019 S *         2/2009 Hsu ................................ D26/28
         D674,938 S *         1/2013 Lai ................................. D26/28                     1 Claim, 5 Drawing Sheets
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 16 of 20 Page ID #:16


  U.S. Patent         Jul. 11, 2017   Sheet 1 of 5          US D791,987 S
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 17 of 20 Page ID #:17


  U.S. Patent         Jul. 11, 2017   Sheet 2 of 5          US D791,987 S
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 18 of 20 Page ID #:18


  U.S. Patent         Jul. 11, 2017   Sheet 3 of 5          US D791,987 S
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 19 of 20 Page ID #:19


  U.S. Patent         Jul. 11, 2017   Sheet 4 of 5          US D791,987 S




                                                                   H
                                                                   I
                                                                   £)
                                                                   '
                                                                   f7
Case 2:18-cv-05664-RGK-SK Document 1 Filed 06/27/18 Page 20 of 20 Page ID #:20


  U.S. Patent                           Jul. 11, 2017                         Sheet S of 5   US D791,987 S




              fii :i 8i8 , v
              it                   S.
             ii i if           s
             iii        Sas                                                   W
             ii i Bisc-s-s-s
            it
                         - -
                  SS-Sssa-SSS- as
                             sis
                                  s
                                    -
                                        ra   a.   W.
                                                   was.
                                                                 Y
                                                                     Y   W.


                   -1
            it-                                           Y
                                                            wY
